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 5                            UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7                                                  ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff(s),     )                 Case No.: 2:10-cr-547-RLH-PAL
                                         )
10         vs.                           )                           ORDER
                                         )                  (Motion for Reduction–#879)
11   KI YONG PARKER,                     )
                                         )
12                     Defendant(s).     )
     ____________________________________)
13

14                 Before the Court is Defendant Ki Yong Parker’s Motion for Reduction of Sentence

15   Pursuant to 18 USC § 3592 (c)(2) Based on a Retroactive Amendment to the United States

16   Sentencing Guidelines (#879, filed August 28, 2014). The Government filed its Opposition (#880) on

17   September 4, 2014.

18                 Because the Defendant’s Motion is based upon a “proposed” amendment to the United

19   States Sentencing Guidelines, which have yet to be adopted, the Motion is premature.

20                 IT IS THEREFORE ORDERED that Defendant Parker’s Motion for Reduction of

21   Sentence Pursuant to 18 USC § 3592 (c)(2) Based on a Retroactive Amendment to the United States

22   Sentencing Guidelines (#879, filed August 28, 2014) is DENIED as premature, without prejudice to

23   refile the Motion when and if the proposed amendment is adopted.

24                 Dated: September 15, 2014.

25

26                                                      ____________________________________
                                                        Roger L. Hunt
                                                        United States District Judge
